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                               Exhibit 11



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                           Page 273
                          UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MASSACHUSETTS

         ---------------------------------X

         IN RE: PHARMACEUTICAL INDUSTRY                 ) MDL No. 1456

         AVERAGE WHOLESALE PRICE                        ) Civil Action No.

         LITIGATION                                     ) 01-12257-PBS

         ---------------------------------X

         THIS DOCUMENT RELATES TO:                      ) Hon. Patti B.

         United States of America ex rel. ) Saris

         Ven-A-Care of the Florida Keys,                )

         Inc. v. Dey, Inc., et al., Civil )

         Action No. 05-11084-PBS; and                   )

         United States of America ex rel. )

         Ven-A-Care of the Florida Keys,                )

         Inc. v. Boehringer Ingelheim                   )

         Corp., et al., Civil Action No.                )

         07-10248-PBS                                   )

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                           Videotaped deposition of

             THE DELAWARE DIVISION OF MEDICAID AND MEDICAL

                ASSISTANCE by CYNTHIA DENEMARK - VOLUME II

                    December 10, 2008 - Newark, Delaware




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                                                                                           Page 274
    1
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                                                                                            Page 366
    1
                                    I'm not sure that the Division defined
    2
             our methodology as reasonable or not.
    3
                                    I think it is the Division's
    4
             understanding that this was our methodology and
    5
             our level of reimbursement.                               We did have access
    6
             to provide -- we had a -- sufficient providers
    7
             willing to accept the rate that we were
    8
             reimbursing that we were within the federal
    9
             regulations that we had to provide -- that we
 10
             should provide service, if we opted to provide a
 11
             drug benefit program.                               But whether it was
 12
             reasonable or not reasonable was not part of the
 13
             discussion.
 14
                        Q.          You indicated that the dispensing fee
 15
             has remained at the $3.65 rate since at least
 16
             1991; is that correct?
 17
                        A.          That's correct.
 18
                        Q.          Do you know when it was established
 19
             initially?
 20
                        A.          The Division does not know when it was
 21
             established.                    We believe that it most likely was
 22
             prior to 1985.

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                                                                                            Page 372
    1
             officials you discussed cross-subsidization with?
    2
                        A.          Not specifically.
    3
                        Q.          Officials from the EMPAA meetings; is
    4
             that correct?
    5
                        A.          Definitely would have been a
    6
             presentation from the EMPAA states, yes.
    7
                        Q.          To the extent you know, how did other
    8
             state Medicaid officials feel with respect to
    9
             cross-subsidization?
 10
                                    MS. HEALY SMITH:                 Objection.
 11
                                    THE WITNESS:                 To the best of my
 12
             recollection, it would have been that something
 13
             probably needed to be done, but nobody had a good
 14
             solution that they were investigating or able to
 15
             pursue that could be shared and leveraged by
 16
             other programs.
 17
             BY MS. RAMSEY:
 18
                        Q.          So there was knowledge that, while it
 19
             may not have been a perfect situation, cross-
 20
             subsidization was occurring?
 21
                                    MS. HEALY SMITH:                 Objection.
 22
                                    THE WITNESS:                 Correct.

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                                                                                            Page 379
    1
             effect of you need to do the best that you can,
    2
             given the information that you have.
    3
                        Q.          Was Delaware ever directed by CMS that
    4
             it was prohibited from paying a margin on
    5
             ingredient costs to compensate for an inadequate
    6
             dispensing fee?
    7
                                    MS. HEALY SMITH:                 Objection.
    8
                                    THE WITNESS:                 I've not seen any -- any
    9
             Medicaid director letters from CMS commenting on
 10
             that, no.
 11
             BY MS. RAMSEY:
 12
                        Q.          So it was the understanding of Delaware
 13
             Medicaid that this was an appropriate way to
 14
             compensate providers under the Delaware Medicaid
 15
             Program?
 16
                                    MS. HEALY SMITH:                 Objection.
 17
                                    THE WITNESS:                 I wouldn't agree that the
 18
             Division thought it was appropriate --
 19
             BY MS. RAMSEY:
 20
                        Q.          You didn't think there was anything
 21
             wrong with it?
 22
                        A.          No, I didn't agree to that either.

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                                                                                            Page 380
    1
                        Q.          Oh, I'm sorry.
    2
                        A.          I believe that the Division's response
    3
             to that would be that they were doing the best
    4
             they could with the data elements that were
    5
             available to them.
    6
                        Q.          Is it fair to say that the Delaware
    7
             Medicaid Program would not utilize reimbursement
    8
             methodologies or policies that it felt violated
    9
             federal regulations?
 10
                        A.          I would agree that the Division would
 11
             never knowingly violate federal regulations.
 12
                        Q.          And you would agree that Delaware did
 13
             not believe its reimbursement policies did
 14
             violate federal violations; --
 15
                                    MS. HEALY SMITH:                 Objection.
 16
             BY MS. RAMSEY:
 17
                        Q.          -- is that correct?
 18
                        A.          That is correct.
 19
                        Q.          Now, we discussed yesterday your
 20
             participation in the '94 and '95 meetings with
 21
             OIG in -- in conjunction with the OIG's report on
 22
             Delaware's Medicaid reimbursement system?

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                                                                                            Page 474
    1
             the time to investigate the accuracy of the
    2
             published prices for all of the NDCs in your drug
    3
             file?
    4
                                    MS. RAMSEY:                  Objection.
    5
                                    THE WITNESS:                  So the question you're
    6
             asking me is the AWPs and the WAC that we obtain
    7
             from the drug file, could we validate that they
    8
             were the AWPs that were published?
    9
             BY MS. HEALY SMITH:
 10
                        Q.          No, could you validate that they were
 11
             the accurate wholesale acquisition costs and
 12
             accurate average wholesale price?
 13
                        A.          The true, actual average price --
 14
             average wholesale price is not obtainable by any
 15
             individual.                   Wholesalers don't release that
 16
             information.
 17
                        Q.          Yesterday you testified that the state
 18
             -- and I think again today, that the state could
 19
             have continued to use actual acquisition costs as
 20
             the estimated acquisition costs or EAC in its
 21
             reimbursement formula.                               Did I remember that
 22
             correctly?

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                                                                                           Page 475
    1
                        A.          That's correct.
    2
                        Q.          And yesterday you said you would not
    3
             have recommended that; is that right?
    4
                        A.          That's correct.
    5
                        Q.          Why not?
    6
                        A.          Because, to the best of my knowledge,
    7
             the pharmacies were not submitting the actual
    8
             acquisition cost plus the dispensing fee.                                     And if
    9
             they were, and if they were part of a chain, then
 10
             the actual acquisition costs that they were
 11
             charged based on their distribution center
 12
             because of the chain was not a reasonable rate
 13
             that the Division should be reimbursing at.                                       It
 14
             was, in my opinion, and what I would have
 15
             recommended to the Division, an inflated rate.
 16
                        Q.          Why not audit the pharmacy invoices as
 17
             you did in 2002?
 18
                        A.          Well, several reasons why not to audit:
 19
             Number one, it is a very time-consuming and
 20
             expensive process.                            In some situations, as I
 21
             testified, Rite-Aid wouldn't even release all of
 22
             their information.                            And I am not confident that

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                                                                                           Page 476
    1
             even with trained auditors we would have been
    2
             able to look at all of the different elements
    3
             that might have related to an overall total cost
    4
             of a full set of prescriptions that were ordered.
    5
                        Q.          Is that because not all of the elements
    6
             would appear on a single invoice?
    7
                        A.          That's true.
    8
                        Q.          If you would look, please, at Dey
    9
             Exhibit 616.
 10
                        A.          Okay.           I have it in front of me.
 11
                        Q.          This is the letter that counsel showed
 12
             you yesterday, July 18th, 2000, apparently
 13
             addressed to state Medicaid Administrator from an
 14
             executive vice president of sales and marketing
 15
             at Dey, LP.
 16
                                    Yesterday you talked about the second
 17
             page, the large paragraph underneath the table,
 18
             and I'd like you to turn to that now, please.
 19
                                    First, do you know whether you actually
 20
             received this particular letter?
 21
                        A.          It looks familiar, but whether I got
 22
             this actual July 18th, 2000 letter, I don't

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    1
             sentence that refers to AWP and says, It is
    2
             dramatically inflated and will influence any
    3
             study that has to take it into account.
    4
                                    When you drafted this for the
    5
             Secretary, is that the adjective that you used?
    6
                        A.          Yes.
    7
                        Q.          And in 1996, what percentage of
    8
             inflation of AWP over actual costs did you
    9
             consider dramatic?
 10
                                    MS. RAMSEY:                  Objection.
 11
                                    MR. CYR:               Objection.
 12
                                    THE WITNESS:                  I would have thought
 13
             something close to 20 percent off of AWP would
 14
             have been dramatic at the time.
 15
             BY MS. HEALY SMITH:
 16
                        Q.          Are you aware of any confidentiality
 17
             restrictions on the use of AMP data that
 18
             manufacturers provide to CMS?
 19
                        A.          To the best of my knowledge, we were --
 20
             we as state entities are not allowed to use AMP
 21
             in any way, that it is considered proprietary.
 22
                        Q.          Are you aware of a proposal to change

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    1
                        Q.          Did a representative from any of the
    2
             defendants in this case ever come to you and
    3
             suggest that it was -- that they were reporting
    4
             inflated AWPs to compensate for a dispensing fee
    5
             that in the State of Delaware that they
    6
             considered to be too low?
    7
                                    MR. CYR:               Objection.
    8
                                    MS. RAMSEY:                  Objection.
    9
                                    THE WITNESS:                  I have never had any
 10
             manufacturer propose that, or manufacturer's
 11
             representative propose that to me.
 12
             BY MS. HEALY SMITH:
 13
                        Q.          Did you ever communicate to any
 14
             manufacturer that you understood and approved
 15
             their reporting of AWPs that were two or three or
 16
             four or five or even ten times higher than actual
 17
             prices?
 18
                                    MR. CYR:               Objection.
 19
                                    MS. RAMSEY:                  Objection.
 20
                                    THE WITNESS:                  I would never -- I don't
 21
             recall ever, and I don't have the opinion that it
 22
             is a reasonable thing to have an inflated AWP, so

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    1
             I would have never had a conversation stating
    2
             that I approved of what they were doing.
    3
             BY MS. HEALY SMITH:
    4
                        Q.          And what is your opinion of an inflated
    5
             AWP?
    6
                                    MS. RAMSEY:                  Objection.
    7
                                    MR. CYR:               Objection.
    8
                                    THE WITNESS:                  I think it is sad
    9
             commentary on the profession that we have no data
 10
             element that we can reliably use for ingredient
 11
             costs so that we can move to reimbursing the
 12
             professional clinician for their services
 13
             rendered.
 14
             BY MS. HEALY SMITH:
 15
                        Q.          If you would look at Exhibits 612, 613,
 16
             614 and 615, please.
 17
                                    MS. RAMSEY:                  I'm sorry.   Which numbers
 18
             did you say? 612 through 615; is that correct?
 19
                                    MS. HEALY SMITH:                  Yes.
 20
                                    THE WITNESS:                  Okay.   These are the OIG
 21
             reports is what you're asking me to look at.
 22
                                    Okay.           Got 'em.

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